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MEMO ENDORSED
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                                                                          ELECTRONICALLY FILED
                                                                          DOC #:
                                 MAHER & PITTELL, LLP                     DATE FILED: 11/9/2020
                                          ATTORNEYS AT LAW
 Reply To:                                                                         Long Island Office
 42-40 Bell Blvd, Suite 302                                                    10 Bond St, Suite 389
 Bayside, New York 11361                                                Great Neck, New York 11021
 Tel (516) 829-2299                                                               Tel (516) 829-2299
 jp@jpittell.com                                                                      jp@jpittell.com

 November 8, 2020

 Hon. Valerie E. Caproni
 US District Judge
 40 Foley Square
 New York, NY 10007

 Re: U.S. v. Conyers, et. al, 15 cr 537 (VEC) {Wendell Belle}

 Dear Judge Caproni:

        I am counsel for Wendell Belle, in the above referenced matter.

         By this letter, I respectfully request a one week adjournment of Mr. Belle’s sentencing
 currently scheduled for Tuesday, November 10, 2020.

          By letter dated November 3, 2020, the Government supplemented its sentencing submission
 by referencing information in Mr. Belle’s NYS inmate records which the Government recently
 received. Although I submitted a response the following day, nonetheless, I need additional time
 to discuss the Government’s submission, my response, and the referenced records with Mr. Belle.
 The Government informs that, by tomorrow, Monday, November 9, 2020, they will provide me a
 redacted version of records which they will not object to being provided to Mr. Belle. Upon receipt,
 I will forward the records to Mr. Belle. Thereafter, I will follow up with a legal call to discuss the
 records with him. At this point, it will not be possible to accomplish these tasks, and possibly
 supplement my response, prior to Tuesday’s sentence date. Accordingly, with consent of the
 Government, I respectfully request the sentencing date be adjourned one week.

      Subject to the Court and Government’s availability, I am available the following dates:
 November 17, 18 & 19 (morning) and 20 (afternoon).

                                                Respectfully submitted,
                                                /s/
                                                Jeffrey G. Pittell

 cc:    Gina Castellano, AUSA
        Other Government counsel of record (by ECF)
        Wendell Belle
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Application GRANTED. The resentencing scheduled for November
10, 2020 is adjourned to November 24, 2020 at 10:00 a.m. No later
than November 13, 2020, the Government must provide the Court with
the state disciplinary records at issue, updated BOP disciplinary records,
and Mr. Belle's BOP medical records for the last six months.
SO ORDERED.



                                         11/9/2020
HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
